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               In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                        No. 13-160V
                                    (Not to be published)

*****************************
                            *
JACQUELYNE ESTES            *
                            *                                 Filed: January 24, 2014
               Petitioner,  *
                            *                                 Decision by Stipulation; Damages;
          v.                *                                 Tetanus Diphtheria Acellular
                            *                                 Pertussis (Tdap); Arm Injury
SECRETARY OF HEALTH AND     *
HUMAN SERVICES              *
                            *
               Respondent.  *
                            *
*****************************

Gil L. Daley, II, Fort Worth, TX, for Petitioner

Justine Daigneault, Washington, DC, for Respondent

                            DECISION AWARDING DAMAGES 1

         On March 4, 2013, Petitioner Jacquelyne Estes filed a petition seeking compensation
under the National Vaccine Injury Compensation Program, (Athe Vaccine Program@). 2 Petitioner
is alleging that she suffered an injury to her arm resulting from the receipt of a tetanus diphtheria
acellular pertussis (“Tdap”) vaccination on March 6, 2010.

1
   Because this decision contains a reasoned explanation for my action in this case, I will post
this decision on the United States Court of Federal Claims’ website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as
amended at 44 U.S.C. § 3501 note (2006)). As provided by Vaccine Rule 18(b), each party has
14 days within which to request redaction “of any information furnished by that party: (1) that is
a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that
includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, “the entire” decision will be
available to the public. Id.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C.A. ' 300aa-10-' 300aa-34 (West 1991 & Supp. 2002) (“Vaccine Act”). All citations in
this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. ' 300aa.
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        Respondent denies that petitioner’s alleged injuries were caused by the receipt of the
Tdap vaccine. Nonetheless, both parties, while maintaining the above positions, agreed in a
stipulation filed January 24, 2014 that the issues before them can be settled and that a decision
should be entered awarding Petitioner compensation.

        I have reviewed the file and, based upon that review, I conclude that the parties’
stipulation is reasonable. I therefore adopt the stipulation as the decision of this proceeding in
awarding damages, on the terms set forth therein.

       The stipulation awards:

              A lump sum payment of $55,000.00 in the form of a check payable to petitioner.
              This amount represents compensation for all damages that would be available
              under 42 U.S.C. §300aa-15(a);


Stipulation ¶ 8.

        I therefore approve a Vaccine Program award to be made to Petitioner in the amount set
forth above. In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk
of the court is directed to enter judgment herewith. 3


       IT IS SO ORDERED.
                                                            /s/ Brian H. Corcoran
                                                               Brian H. Corcoran
                                                               Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint
notice renouncing their right to seek review.
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